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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

GENERAL MOTORS LLC,
GENERAL MOTORS COMPANY,

             Plaintiffs,                      Case No. 19-cv-13429
v.
                                              District Judge Paul D. Borman
FCA US LLC, FIAT CHRYSLER
AUTOMOBILES N.V., ALPHONS
IACOBELLI, JEROME DURDEN,
MICHAEL BROWN,

             Defendants.              /

 ORDER DECLINING TO EXERCISE SUPPLEMENTAL JURISDICTION
  OVER TWO STATE LAW CLAIMS, PURSUANT TO 28 U.S.C. §1367

      Plaintiff has filed a Complaint alleging three specific Federal RICO Act

claims against all Defendants, and thereafter, two Michigan state law claims;

Count Four -- Unfair Competition against FCA and FCA N.V., and Count Five --

Civil Conspiracy claims against all Defendants (ECF #1).

      Plaintiffs noted in their opposition to FCA US LLC's Motion to Dismiss the

Complaint:

             Michigan unfair competition law is a "broad and flexible
             doctrine" addressing "the incalculable variety of illegal
             practices denominated as unfair competition", Primary
             Ins. Agency Grp., LLC v. Nofar, No. 320039, 2015 WL
             1227767 at *5 (Mich. Ct. App., Mar. 17, 2015).

(ECF #64, Page ID 2316).

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      The Court concludes that proceeding to trial on the three specific Federal

RICO claims against all Defendants (92 pages and 189 paragraphs of the 94-page,

198-paragraph Complaint), and also trying the two State law claims (two pages and

eight paragraphs of the Complaint), Count Four against two Defendants, and Count

Five against all Defendants, would create insurmountable, confusing, and

prejudicial spillover-evidence issues, and also create jury confusion that

instructions could not cure.

      Accordingly, the Court deems these to be compelling reasons to decline to

exercise supplemental jurisdiction on the State claims, Counts Four and Five,

pursuant to 28 U.S.C. § 1367(c)(4).

      SO ORDERED.

DATED: June 15, 2020                   s/Paul D. Borman
                                       PAUL D. BORMAN
                                       UNITED STATES DISTRICT JUDGE




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